Case 2:02-CV-02248-SH|\/|-egb Document 186 Filed 08/19/05 Page 1 of 4 Page|D 368

 

FILED ev ,.¢ m D.C.
IN THE UNITED sTATEs DISTRICT cOURT =
FOR THE WESTERN DISTRICT OF TENNESSEE _
WESTERN DIvIsIoN BSAUG'S AH 5'52
THY§%M§§§u T
1 FQ "
RY FIAL , 1 ., leFv(. ..j_-`»,» p.CGU' R
BAR A NC w;® GF 1»~1=,;._;§:;@:?#13
Plaintiff,
vs. No. 02-2248-Ma

S'I'ORED \/'ALUE SYSTEMS, INC. ,

Defendant.

 

ORDER AMEND ING SCHEDULE

 

The court held a status conference in this matter on August
3, 2005. Attending on behalf of the plaintiff were Richard
Carter and Paul Morris. Participating on behalf of the defendant
were Alan Fisch and Jonathan Hancock. The court lifted the stay

and amended the schedule as follows:

l. The deadline for completing discovery is October 14,
2005.
2. The deadline for filing potentially dispositive motions

is December 15, 2005.

3. The parties shall file a joint proposed pretrial order
by 5:00 p.m., March 30, 2006.

4. A pretrial conference is reset to Thursday, April 6,
2006, at l:30 p.m.

5. The case is reset for jury trial on Monday, April 17,
2006, at 9:30, and is expected to take lO days.

Th`is document entered on the docket Shest in ccn&§liamce
mm sum 58 and/or 79(3) FHCP on 87 " 3 "

Case 2:02-CV-02248-SH|\/|-egb Document 186 Filed 08/19/05 Page 2 of 4 Page|D 369

Absent good cause, the amended schedule set by this order

will not be modified or extended.

VL

So ORDERED this ls day of August, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED S'I'ATES DISTRICT JUDGE

 

   

UNDITE` sTAET DisRTiCT OURT WESTERNDT"ISRICOF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 186 in
case 2:02-CV-02248 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Barry E Bretschneider
MORRISON & FOERSTER, LLP
1650 Tysons Blvd.

Ste. 300

1\/chean7 VA 22102

Russell H. Walker

WALKER MCKENZIE & WALKER, P.C.
6363 Poplar Avenue

Ste. 434

1\/lemphis7 TN 38119

Alan M. Fisch

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Paul Howard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Kelly A. Clement

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

J. lay Guiliano

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Jonathan C. Hancock
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Case 2:02-cV-02248-SH|\/|-egb Document 186 Filed 08/19/05 Page 4 of 4 Page|D 371

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Jason F. Hoffman

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Honorable Saniuel Mays
US DISTRICT COURT

